10

11

12

13

14

19

16

17

18

19

20

21

22

23

24

29

26

27

28

e.

ml

 

 

SARAH J. PHILLIPS (SBN 118929)
Attorney

P.O. Box 714

Kenwood, CA 95452

Phone: (707) 537-6685

Attorney for Creditor,
MARY HESS and
Creditor’s Attorney,
SARAH J. PHILLIPS

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA, SANTA ROSA DIVISION

In re

JAMES ARTHUR THOMPSON Case No.: 19-10058
MARYLYNNE ANN THOMPSON SUPPLEMENTAL BRIEF
Debtor. TAGGART STANDARD

SSN: XXX-XX-2767
SSN: XXX-XX-1620
Hearing: June 22, 2020
Time: ll am

 

 

Creditor, MARY HESS, and her attorney, SARAH J. PHILLIPS, who are
respondents in the above-mentioned motion are not registered for ECF and
therefore make this file this response on May 27d, 2020 by emailing it to
CANB-EMERGENCY-FILINGS@ canb.uscourts.gov and serve this response
on attorney Debtors by mailing it to their attorney of record, Thomas P. Kelly

III at tomkelly@sonic.net.

February 15, 2020, Attorney Kelly served this MOTION FOR CONTEMPT

(“Motion”) on Creditor and her attorney. Debtor alleged that Creditor’s

 

ase: 19-10058 Doc#47 Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page1o
10

dal.

12

13

14

5

1.6

17

18

19

20

21

22

23

24

29

26

27

28

 

 

|

California State Bar Complaint (“Complaint”) against Debtor violated the
automatic stay barring efforts to collect Debtor’s discharged debt to Creditor.
That hearing was continued to allow for discovery and has been re-scheduled
for June 22, 2020 at which time the court requested the parties submit

supplemental briefs on the Taggart Standard.

BACKGROUND: The debt in question is a November 14, 2018 arbitration
award for $23,760.00 stemming from Debtor’s refusal to reimburse his client,
Creditor, fees he over-charged her. The debt was incurred by Debtor in his
capacity as Creditor’s attorney. After issuance of the arbitration award,

Debtor filed for bankruptcy and was granted discharge of the arbitration
award debt to Creditor. Creditor then filed the Bar Complaint alleging that
Debtor violated California Business and Professions Code Section 6148
(requires compliant written agreement for attorney’s fees in excess of
$1,000.00) and California Rules of Professional Conduct 4-200 (prohibits
unconscionable fees). In the interest of transparency and because Creditor did
not contest the bankruptcy discharge order, Creditor informed the Bar that the
debt was discharged in bankruptcy. After receiving this Motion, on behalf of
Creditor, Creditor offered to withdraw the Bar Complaint. Mr. Kelly,
responded: “My client is willing to drop the motion, but will not agree to that
until we received correspondence from the State Bar confirming that the
complaint is dropped and the case is closed.” Creditor then then withdrew the
Complaint. The Bar refused to close the case and Debtor’s attorney refused to

withdraw this Motion.

base: 19-10058 Doc#47 Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page2d

 
10

11

12

13

14

15

16

17

18

19

20

21

22

25

24

25

26

27

28

 

 

LAW

I. Taggart Standard: Objective Standard for Defense in Motion
for Contempt.

SO

creditor’s subjective beliefs regarding the lawfulness of the alleged contempt
are relevant in the determination of liability for contempt. The issue arose in
District Court ruling which found civil contempt by the creditor. The District
Court applied a “strict liability” standard which ignored subjective beliefs of
the creditor. It was appealed to the Ninth Circuit which rejected the “strict
liability” standard and applied a subjective standard, overruling the district
court. Upon appeal to the U.S. Supreme Court (Taggart v. Lorenzen 587 US
___ (2019), the court rejected what it called a subjective standard used by the
Ninth Circuit and created the objective Taggart Standard: “A court may hold a
creditor in civil contempt for violating a discharge order where there is not a
‘fair ground of doubt’ as to whether the creditor’s conduct might be lawful

under the discharge order.” Taggart, 11.

Taggart does not change the standard of proof the movant must satisfy; it
addresses the kind of evidence that is admissible in proving and defending a
motion for contempt. Under the Taggart objective standard, subjective beliefs
of creditors do not excuse otherwise unlawful violations of court orders and
by the same token, subjective beliefs of debtors do not condemn otherwise

legal actions of creditors.

If. Movant’s Burden of Proof Continues to Be: “Clear and Convincing

Evidence”.

The standard of proof of the movant in a motion for contempt is “clear and
convincing evidence.” Petroleos Mexicanos v. Crawford Enterprises, Inc.,

826 F.2d 392, 401 (Sth Cir. 1987). “The ‘clear and convincing evidence’

base: 19-10058 Doc#47_ Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page3d

 
10

11

LZ

13

14

15

16

17

18

1g

20

21

22

23

24

Zo

26

27

28

b

 

 

standard is higher than the ‘preponderance of the evidence’ standard, common
in civil cases, but not as high as ‘beyond reasonable doubt.’” Travelhost, Inc.
v. Blandford, 68 F.3d 958, 961 (Sth Cir. 1995) citing United States v. Rizzo,
539, 539 F.2d 458, 465, (5th Cir. 1976).

The movant in a civil contempt proceeding bears the burden of establishing
three elements with clear and convincing evidence: (1) that a court order was
in effect; (2) that the order required certain conduct by the respondent; and (3)
that the respondent failed to comply with the court's order. See McComb v.
Jacksonville Paper Co., 336 U.S. 187, 191 (1949); Northside Realty, 605 F.2d
at 1352,

Il. Defense to Contempt Motion - lack of control,

After the movant has shown a prima facie case, the respondent can
successfully defend against it by showing a present inability to comply with
the court order.

“While respondent in the contempt hearing could not attack the
enforcement order on the ground that he lacked possession or control
of the records at the time the order was issued, he could defend the
contempt charge on the ground that he was then unable to comply

because he lacked possession or control. United States v. Rylander,
460 U.S. 752, 756-757 (1983).

ARGUMENT

The Taggart Standard is not dispositive of this motion because respondent
does not offer the defense that she subjectively believed that filing the
Complaint was not a violation of the automatic stay. She has offered the
defense that the Bar Complaint does not constitute a collections action which
violates the automatic stay and that her withdrawal of the Bar complaint cures

any possible violation.

fase: 19-10058 Doc#47 Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page4d

 
10

del,

12

LS

14

1d

16

17

18

19

20

21

22

23

24

25

26

27

28

Mt

 

 

Respondent does not contest that the movant has met his burden of proof for
the first two elements, that a court order was in effect and that the order
required certain conduct by the respondent. The court order (automatic stay)
was in effect and the order required certain conduct of the respondent (to
refrain from collection of the discharged debt). But respondent contends that
movant has not met his burden to proof with clear and convincing evidence

that respondent failed to comply with the court order.

I. Bar Complaint Not Violation of Automatic Stay.
Movant must prove with “clear and convincing” evidence that the Bar
Complaint filed by respondent violated the automatic stay. Movant’s only
evidence is the last sentence of the Bar complaint from which he infers that
the purpose of the Complaint was collections. But by the Taggart Standard,
evidence must be objective, not subjective. Inferred intent is subjective

evidence and is not admissible under the Taggart Standard.

More compelling, objective evidence is the court precedent set by Jn re Wade
v. State Bar of Arizona 948 F.2d 1122 (United States Court of Appeals, Ninth
Circuit, 1991) in which the court characterized a Bar Complaint as a
disciplinary proceeding and ruled that it is not a violation of a bankruptcy
automatic stay order. “The Bar acts as an instrumentality of the Arizona
Supreme Court enforcing its police or regulatory power, and therefore the
disciplinary proceedings against Wade are excepted from the automatic stay

under 11 U.S.C. § 362(b)(4). (In re Wade v. State Bar of Arizona 948 F.2d

1122 (United States Court of Appeals, Ninth Circuit, 1991) (emphasis added).

Movant owed respondent a fiduciary duty because he represented her as her
attorney. He was not an ordinary debtor. His conduct goes well beyond
merely incurring a debt to respondent. In fact, given the attorney/client

relationship of the movant and respondent, movant’s failure to refund the fee

(ase: 19-10058 Doc#47_ Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page5dad

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

~

 

 

overpayment for whatever reason is itself a violation of the California Rules
of Professional Conduct. Plus other alleged acts of misconduct were not
addressed by the discharged fee arbitration hearing/award, The award merely
calculated how much the attorney (movant) overcharged his client
(respondent). The fee arbitration award did not address of the other acts of

misconduct and award of compensation for those actions.

Movant does not meet his burden of proof with clear and convincing evidence

that the respondent failed to comply with the court’s order.

Il. Complaint Withdrawn, Now Respondent Lacks Control.

Respondent withdrew the Bar Complaint, but the Bar refused to close the
case. Pursuant to United States v. Rylander lacking control or possession over

the alleged violation of a court order is a valid defense to a contempt motion.

CONCLUSION
Movant fails to meet his burden of proof with clear and convincing evidence
that respondent failed to comply with the court’s order and the motion for

contempt should be denied.

Furthermore respondent asks the court to award reasonable attorney’s fees to
the respondent pursuant to 11 U.S.C Section 362 (k)(1). 11 U.S.C Section 362
(k)(1) provides: “Except as provided in paragraph (2), an individual injured
by any willful violation of a stay provided by this section shall recover actual
damages, including costs and attorneys' fees, and, in appropriate
circumstances, may recover punitive damages.” Given movant’s bad faith
purpose of bringing this motion for contempt against respondent to terminate
the Bar Complaint brought by respondent, costs incurred by respondent

should be recoverable because movant’s conduct constitutes an abuse of the

frase: 19-10058 Doc#47_ Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page6éq

 
10

iE

12

13

14

15

16

7

18

19

20

21

22

23

24

25

26

27

28

=~

 

 

stay. In the alternative, to the respondent as the prevailing party pursuant to

F.R.C.P. 54(d).

July 5, 2020 Respectfully submitted,

WA)

 

SARAH J. PHILLIPS #@K
MARY HESS

Respondents

 

frase: 19-10058 Doc#47 Filed: 07/06/20 Entered: 07/06/20 14:29:34 Page 7 7 7
